  Case
Form G6 20-00341
        (20200113_apo)Doc   13Filed 02/01/21 Entered 02/01/21 09:02:53              Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                     )   BK No.: 19-21141
                                                           )
LATOYA JACKSON,                                            )   Chapter: 7
                                                           )
                                                           )   Honorable Timothy A. Barnes
                                                           )
                                   Debtor                  )
Ann Decaro                                                 )   Adv. No.: 20-00341
                                                           )
                                                           )
                                   Plaintiff
Latoya Jackson                                             )
                                                           )
                                                           )
                                   Defendant               )

               CONSENT JUDGMENT FINDING DEBT NONDISCHARGEABLE

                  Based upon the agreement of the parties, as evidenced by their signature appearing on
the attached, the Court hereby finds and determines that all amounts that the Defendant, Latoya Jackson
owes to Plaintiff Ann Decaro pursuant to that certain Settlement Agreement dated January 12, 2021, are
nondischargeable obligations under one or more of the provisions of 11 U.S.C. §§ 523(a)(2), (a)(4) and
(a)(6), and that such amounts survive any discharge in favor of the Defendant.




                                                         Enter:


                                                                   Timothy A. Barnes
Dated: February 1, 2021                                            United States Bankruptcy Judge

Prepared by:
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